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Megan Koester, on behalf of herself and all others similarly situated                 Crossroads Trading Co., Inc.

                                                Los Angeles County, CA                                                      Alameda County, CA
                                                                                                                            (   nown)
John J. Nelson, MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN PLLC
402 W Broadway, Suite 1760, San Diego, CA 92101,, Tel: (868) 252-0878

                                             (Place an “X” in One Box Only)

                                          (U.S. Government Not a Party)
                                                                                     28 USC 1332(d)(2)
                                                                                                           Data Breach
                                    (Place an “X” in One Box Only)




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           04/07/2025                                                                                     /s/ John J. Nelson
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